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               IN THE UNITED STATES DISTRICT COURT
              FOR THE SOUTHERN DISTRICT OF ILLINOIS

  CALEB BARNETT, et al.,
  Plaintiffs,

  vs.                                           Case No. 3:23-cv-209-SPM
                                                ** designated Lead Case
  KWAME RAOUL, et al.,
  Defendants.
  DANE HARREL, et al.,
  Plaintiffs,

  vs.                                           Case No. 3:23-cv-141-SPM

  KWAME RAOUL, et al.,
  Defendants.
  JEREMY W. LANGLEY, et al.,
  Plaintiffs,

  vs.                                           Case No. 3:23-cv-192-SPM

  BRENDAN KELLY, et al.,
  Defendants.
  FEDERAL FIREARMS LICENSEES
  OF ILLINOIS, et al.,
  Plaintiffs,

  vs.                                           Case No. 3:23-cv-215-SPM

  JAY ROBERT “J.B.” PRITZKER, et al.,
  Defendants.

                      BRIEF OF AMICUS CURIAE
                  SECOND AMENDMENT LAW CENTER
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                 CORPORATE DISCLOSURE STATEMENT

      The Second Amendment Law Center is a nonprofit organization which has no

parent corporation. It issues no stock, and therefore no publicly held company owns

10% or more of its stock.

                                      /s/ Dan M. Peterson
                                      Dan M. Peterson

                                     Counsel for Amicus Curiae




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                        INTEREST OF AMICUS CURIAE1

       The Second Amendment Law Center is a 501c3 nonprofit corporation

 headquartered in Henderson, Nevada. The Center promotes and defends the

 individual right to keep and bear arms. The Center also educates the public about the

 social utility of private firearm ownership and publishes accurate and truthful

 historical, criminological, and technical information about firearms.

                                  INTRODUCTION

       A new argument is being advanced in Second Amendment cases all over the

 country. It is now being argued that the time of ratification of the Fourteenth

 Amendment (1868), which has subsequently been held to incorporate provisions of

 the Bill of Rights against the states, is the primary or exclusive time period for

 determining the original public understanding of the Second Amendment. That

 argument is not only incorrect and illogical, but is directly contrary to Supreme Court

 precedent both in Second Amendment cases and other cases involving incorporated

 provisions of the Bill of Rights. When it has been necessary to look to history for

 original meaning, the Court has always looked to the time of the original ratification


 1
   No party’s counsel authored this brief in whole or in part. No party or party’s
 counsel, and no person other than amicus, its members, or its counsel, contributed
 money that was intended to fund preparing or submitting this brief.

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 of the Bill of Rights in 1791.

       This amicus brief makes two main points: 1) that Heller has already

 determined the test in arms ban cases; and 2) that any inquiry into historical analogues

 should focus on the Founding period, not the time of ratification of the Fourteenth

 Amendment. In logical order, the first point is that in Heller2 the Supreme Court

 examined the relevant text and history relating to possession of arms. Based on that

 text and history, the Court concluded that the kinds of arms protected by the Second

 Amendment are those that are in “in common use” at the time (that is, at present), or,

 phrased somewhat differently, those that are “typically possessed by law-abiding

 citizens for lawful purposes.”3

       If the arms in question are protected under the Heller test, which they plainly

 are in this case, there is no need to examine historical analogues either in 1791 or

 1868. Indeed, it would be improper for a lower court to do so. The job of the federal

 courts is to faithfully apply Supreme Court precedents and reasoning. The Heller test



 2
   District of Columbia v. Heller, 554 U.S. 570 (2008).
 3
   Heller, 554 U.S. at 624-25. Another way of phrasing the test is to hold that arms
 that are “dangerous and unusual” may be prohibited. Because arms that are “in
 common use” or are “typically possessed by law-abiding citizens for lawful
 purposes” cannot, by definition, be “unusual,” this brief concentrates on the
 “common use” and “typically possessed” formulations of the rule.

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 is the first step logically speaking, but it is addressed second in this brief because the

 argument regarding the relevant time for determining meaning—1868 as opposed to

 1791—is a novel one. Defendants have made the argument for 1868 in very limited

 fashion in their Opposition,4 but the amicus brief recently filed by Everytown for Gun

 Safety, Doc. 54 (“Everytown Br.”) presents that argument at considerable length.

        If for some reason this court decides to examine historical analogues, amicus

 submits that in choosing the proper time period for determining meaning is 1791, not

 1868. Because the contention that 1868 is the proper period is novel, it is addressed

 in Part I of this brief.

        It has never been in question until very recently that the Founding is the

 relevant time period for determining the original public understanding of a

 constitutional provision. Now that is being questioned post-Bruen,5 and the time

 period of the ratification of the Fourteenth Amendment in 1868 as part of the

 Reconstruction amendments is being proposed as the relevant time period. The

 purpose of that argument is to allow much later and more numerous laws in the late

 nineteenth century to be cited as “historical analogues” under Bruen. This brief


 4
   Defendants Brief in Opposition to the Motion for Preliminary Injunction, Doc. 37
 (“Opp.”)
 5
   New York State Rifle & Pistol Association, Inc. v. Bruen, 142 S.Ct. 2111 (2022).

                                            3
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 demonstrates that the substitution of 1868 for 1791 is deeply mistaken, and that it has

 not and will not be adopted by the Supreme Court.

                           SUMMARY OF ARGUMENT

       The Supreme Court in District of Columbia v. Heller and New York State Rifle

 & Pistol Association v. Bruen have made it clear that the scope of the Second

 Amendment is determined in accordance with the scope it was understood to have

 when the people adopted it. It was adopted in 1791. Now Defendants suggest that

 1868, the time of adoption of the Fourteenth Amendment, which applies the Second

 Amendment to the states, is “also relevant.” The amicus brief filed by Everytown for

 Gun Safety expressly argues at some length that 1868, not 1791, is the principal time

 for determining the Second Amendment’s scope. See Part I.A., below.

       The case law from Courts of Appeals cited in the Everytown brief does not

 support that position. See Part I.B., below. The Gould decision from the First Circuit

 was abrogated by Bruen. The rest merely cite a plainly erroneous statement made by

 the Seventh Circuit in the Ezell decision. That error was promptly corrected by the

 Seventh Circuit in another case the following year. There is one very recent Eleventh

 Circuit panel decision that adopts 1868 as the appropriate year, but for reasons

 discussed below that decision is incorrect and not yet final. The Everytown brief cites


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 not a single Supreme Court case that has held that 1868 rather than 1791 is the proper

 time for determining original meaning, and thus for evaluating the relevance of

 purported historical analogues. Instead, that brief discusses an “ongoing scholarly

 debate” briefly mentioned in Bruen on that subject.

       The Supreme Court has clearly held that the Constitution’s meaning is fixed

 according to the understandings of those who ratified it, although that fixed meaning

 can be applied to circumstances the Founders did not foresee. Furthermore, the

 individual rights enumerated in the Bill of Rights have the same scope against the

 states as they do against the federal government. Because that meaning was fixed in

 1791, the scope did not change in 1868. Accordingly, the Court has held that post-

 enactment history cannot contradict the original meaning, but can only be used to

 confirm it. Here, Defendants and their amici seek to contradict the original meaning

 by offering analogues a century and more after the Founding by claiming that 1868,

 not 1791, is the relevant period.

       The Supreme Court’s universal practice when examining history to determine

 the meaning of incorporated provisions of the Bill of Rights has been to look to the

 understanding at the time of the Founding. Numerous Supreme Court cases cited in

 the present brief demonstrate this, and none have looked to post-Civil War history


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 for anything but confirmation of the 1791 understanding.

       The alleged “ongoing scholarly debate” alluded to in Bruen, which is not much

 of a debate, does not change this fact. To adopt the position advocated by the

 Everytown brief would overturn all of the Supreme Court’s jurisprudence on

 incorporation for all provisions of the Bill of Rights. The Court is unlikely to do that.

 In any event, it has not done so and lower courts are bound by the decisions of the

 Supreme Court.

                                     ARGUMENT

 I. THE APPROPRIATE TIME PERIOD TO DETERMINE ORIGINAL
    PUBLIC UNDERSTANDING OF THE SECOND AMENDMENT IS 1791,
    WHEN THE BILL OF RIGHTS WAS ADOPTED.

    A. Briefing in this case that suggests or advocates that the time to
       determine the original meaning of the Bill of Rights is when the
       Fourteenth Amendment was ratified is seriously in error.

       The Supreme Court’s decision in New York State Rifle Association v. Bruen,

 142 S. Ct. 2111 (2022) made it clear that “Constitutional rights are enshrined with

 the scope they were understood to have when the people adopted them,” Bruen, 142

 S.Ct. 2136 (quoting District of Columbia v. Heller, 554 U.S. 570, 634–635 (2008)).

 The Second Amendment was adopted by the people in 1791, when they ratified the

 Bill of Rights. So it seems plain enough, since the Supreme Court has twice so held,


                                            6
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 that the scope of the Second Amendment is determined by the meaning it had in 1791.

 In determining its scope, laws from that time that are “historical analogues” to present

 day restrictions can be consulted to determine whether those present day laws are

 constitutional; that is, if the analogues showed that the conduct restricted by

 challenged laws was considered outside the scope of the Second Amendment during

 the Founding era. If, on the contrary, there were no such analogues at the time of the

 Founding then that is good evidence—indeed, nearly conclusive evidence—that the

 Founding generation considered the conduct protected, and modern laws infringing

 on such conduct are unconstitutional.

       The test is purely historical. The Bruen Court firmly, categorically, and

 unequivocally rejected any form of “balancing test,”—such as strict scrutiny,

 intermediate scrutiny, or general interest balancing as proposed by Justice Breyer in

 his dissent in Heller. Heller, 554 U.S. at 681. The test is textual and historical only,

 and the relevant time period for determining the scope of the Second Amendment—

 like any other provision of the Bill of Rights—is 1791.

       Yet throughout Defendants’ Brief in Opposition there are multiple references

 to “1868,” the “Reconstruction era,” “the Fourteenth Amendment,’” and similar

 words and phrases. See, e.g., Opp. at 25, 26, 41, 47, 60, and especially at 22 (arguing


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 that “how the right was understood in 1868, when the Fourteenth Amendment was

 ratified” is “also relevant.” Often these references are used in connection with a

 statement or implication that such a law passed or in existence after the Civil War

 can be used as a “historical analogue” to limit the original public understanding that

 weapons in common use were protected by the “pre-existing right” that was

 “codified” in the Second Amendment. Heller, 554 U.S. at 592.

       As shown in this amicus brief, it means no such thing. The time of determining

 original meaning or original public understanding of the Second Amendment is 1791,

 when that amendment was ratified by the people. The time of ratification of the

 Fourteenth Amendment—1868, during the Reconstruction period—quite literally has

 nothing to do with the original public understanding of the Second Amendment and

 tells us nothing important about the tradition of firearms regulation in this country.

 That is true for several reasons, explored in Parts I.C. through I.F., below.

       The Everytown brief explicitly argues that 1868, and not 1791, is the “most

 relevant” time period for the historical inquiry because that is “when the Fourteenth

 Amendment was ratified and made the Second Amendment applicable to the states.”

 Everytown Br. 6. Positing 1868 as the appropriate time period is advantageous to

 those who wish to limit Second Amendment rights because it greatly expands the


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 time window for historical analogues, to include not only the period immediately

 surrounding 1791, but also periods up to 1868 and, Everytown argues, at least some

 decades past 1868.6 It also gives weight to later nineteenth century analogues that

 they would otherwise not have, by claiming that 1868 rather than 1791 is the central

 time to determine original meaning.

       An examination of the case law that the Everytown brief relies on to posit that

 1868 is the proper year reveals that claim to be baseless. See Part I.B., below. Such a

 claim is completely illogical and barred by other principles that are firmly established

 in the Supreme Court’s Bill of Rights jurisprudence. See Parts I.C., I.D., and I.E.,

 below. Most conclusively, it is contrary to the Court’s universal practice of looking

 at the time of the Founding, not the Reconstruction period, to determine the meaning

 of the substantive provisions of the Bill of Rights, including the Second Amendment.

 See Part I.F., below.




 6
  The historical inquiry “should focus on the period around 1868, not 1791. Moreover,
 1868 is not a cutoff….” Everytown Br. 11.

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    B. The case law and quotations relied on to establish 1868 as the pertinent
       year are illusory.

       The Everytown brief contends that if this court conducts a historical inquiry “it

 should first conclude that the most relevant time period for that inquiry centers on

 1868, when the Fourteenth Amendment was ratified and made the Second

 Amendment applicable to the states.” Everytown Br. 6.

       To try to support this contention, it argues that several courts of appeals have

 reached this conclusion. The Everytown brief first cites Ezell v. City of Chicago, 651

 F.3d 684, 702 (7th Cir. 2011). The brief quotes Ezell to the effect that “McDonald [v.

 City of Chicago, 561 U.S. 742 (2010),] confirms that if the claim concerns a state or

 local law, the ‘scope’ question asks how the right was publicly understood when the

 Fourteenth Amendment was proposed and ratified.” Ezell does contain that quote,

 but the Everytown brief omits the Seventh Circuit’s citation to McDonald, which was

 “McDonald, 130 S.Ct. at 3038–47.” There is a fatal problem with that citation. In that

 ten-page range, there is no statement that the time of ratification of the Fourteenth

 Amendment is the relevant time period for determining the scope of the Second

 Amendment. Neither Ezell nor the Everytown brief offers a quote from McDonald

 allegedly establishing that proposition, nor a cite to a specific page within that page

 range on which such a statement appears. Instead, Justice Alito’s McDonald opinion

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 in the page range 3038-47 merely examines history during that time period to

 determine whether the Second Amendment should be held to be incorporated. It does

 not say that 1868 is the principal time period for determining the meaning or scope

 of the Second Amendment.

          The Seventh Circuit simply made a mistake in Ezell. It corrected that mistake

 the next year in Moore v. Madigan, 702 F.3d 933, 935 (7th Cir. 2012). There, the

 Seventh Circuit held that “1791, the year the Second Amendment was ratified” was

 “the critical year for determining the amendment's historical meaning, according to

 McDonald v. City of Chicago, supra, 130 S.Ct. at 3035 and n. 14.”

          It next quotes the First Circuit to the effect that “[b]ecause the challenge here

 is directed at a state law, the pertinent point in time would be 1868 (when the

 Fourteenth Amendment was ratified).” Everytown Br. 6. The citation to the First

 Circuit in the Everytown brief is: “Gould v. Morgan, 907 F.3d 659, 668 (1st Cir.

 2018) (citing cases),7 criticized by Bruen, 142 S. Ct. at 2124, 2126-27.” Everytown

 Br. 6. But Gould was a pre-Bruen case from Massachusetts, and involved a

 discretionary carry licensing system of the kind struck down in Bruen. It was one of

 the six states whose licensing schemes were expressly condemned in Bruen. Bruen,


 7
     See below for the single case cited by Gould (the Greeno case) for this proposition.

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 142 U.S. at 2124. It also explicitly adopted the two-step interest balancing scheme

 rejected by Bruen. Gould, 907 F.3d at 668-69. Furthermore, Gould held that “the core

 Second Amendment right is limited to self-defense in the home,” id. at 671, another

 holding contrary to Bruen. Gould was not “criticized by” Bruen. It was abrogated by

 Bruen and is no longer good law, if it ever was.

       The Everytown brief next cites United States v. Greeno, 679 F.3d 510, 518 (6th

 Cir. 2012)8 as “following Ezell,” and Drummond v. Robinson Twp., 9 F.4th 217, 227

 (3d Cir. 2021), quoting language that “[T]he question is if the Second and Fourteenth

 Amendments’ ratifiers approved [the challenged] regulations ….” Everytown Br. 6-

 7. But as one scholar has noted:

       Greeno simply quoted the mistaken language in Ezell, apparently
       without investigating its accuracy.… The Drummond case did not hold
       that 1868 is the proper date. It merely stated, without any elaboration or
       citation of authority, that “[f]or the rim-fire rifle rule, the question is if
       the Second and Fourteenth Amendments’ ratifiers approved regulations
       barring training with common weapons in areas where firearms practice
       was otherwise permitted.” It then cited authorities from 1825, 1885, and
       1895 as part of its analysis, but did not attempt to determine what the
       ratifiers of the Fourteenth Amendment may have understood the right’s
       scope to be in 1868 (citations omitted). 9

 8
   As noted above, the description of Gould by Everytown as “citing cases” for the
 proposition that 1868 is the key year really only cites one case: Greeno.
 9
   Mark W. Smith, “Not all History is Created Equal”: In the Post-Bruen World, the
 Critical Period for Historical Analogues is when the Second Amendment was Ratified
 in        1791,        and        not         1868,        at       32,    SSRN,

                                            12
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 Thus, the Everytown brief relies on a mistake in Ezell. Greeno also relied only on the

 mistake (promptly corrected by the Seventh Circuit) in Ezell. And Gould relied only

 on Greeno. This line of cases in the courts of appeals proves nothing.

       The Everytown brief does rely on a very recent panel decision of the Eleventh

 Circuit, determining that 1868 is the proper year. Everytown Br. 6. For the reasons

 stated in this brief, that decision is simply incorrect. As the Supreme Court in

 McDonald observed, 561 U.S. at 780, the Second Amendment is not a second-class

 right, so if 1868 is the proper year, courts must look at 1868 to determine the historical

 meaning of all other incorporated provisions of the Bill of Rights. One may

 reasonably ask, when the next case regarding freedom of speech, freedom of religion,

 the Establishment Clause, the protection against unreasonable searches and seizures,

 the right to counsel, the right to jury trial, or another protection in the Bill of Rights

 comes before the Eleventh Circuit, will that court jettison existing Supreme Court

 precedent that looked to the Founding to ascertain the contours of those rights, and




 https://papers.ssrn.com/sol3/papers.cfm?abstract_id=4248297.   See also Mark
 Smith, Attention Originalists: The Second Amendment Was Adopted in 1791, not
 1868, Harvard Journal of Law & Public Policy Per Curiam (Fall 2022)
 https://www.harvard-jlpp.com/wp-content/uploads/sites/21/2022/12/Smith-1791-
 vF1.pdf.

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 make a new determination based on 1868? One suspects it will not.

       That panel decision is not yet final, because on the day the opinion was issued

 a judge of the Eleventh Circuit directed the clerk to withhold the mandate. National

 Rifle Association v. Bondi, No. 21-12314, Doc. No. 67 (Mar. 9, 2023). Among other

 things, this action might suggest a rehearing en banc, in which case the panel decision

 would be vacated. Also, one of the three judges on the panel only concurred in the

 judgment, noting that:

       I would wait to issue an opinion until the current session of the Florida
       legislature completes its consideration of H.B. 1543, 2023 Leg., Reg.
       Sess. (Fla. 2023), which may render the issue moot. If passed, H.B.
       1543 would reduce the minimum age in the law at issue from 21 to 18.
       However, I concur in the judgment given the law as it exists today.

 National Rifle Association v. Bondi, No. 21-12314, 2023 WL 2416683, *14 (Mar. 9,

 2023). Thus, it would be prudent not to give too much weight to this decision before

 the procedural history is played out.

       What does the Everytown brief not cite for the proposition that the 1868 time

 of ratification is or ought to be controlling? It does not cite a single Supreme Court

 case, throughout our nation’s history, that has ever held that 1868 is the principal

 relevant time period for determining the original public understanding of the Second

 Amendment or of any of the first eight provisions of the Bill of Rights. That is


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 because when history is consulted by the Supreme Court to determine the original

 meaning of a provision of the Bill of Rights it has always looked to the Founding era

 as the principal focus for that inquiry. See Part I.F., below. It has never considered

 1868 to be the uniquely relevant time period or, really, very relevant at all.

       The Everytown brief does mention Bruen, but tries to transmute a passing

 remark made by Justice Thomas, the author of the Bruen opinion, into a holding that

 1868 is the key year for determining meaning, which neither Bruen nor any other

 Supreme Court opinion has ever held.

       Bruen merely noted the unexceptionable principle that:

       Strictly speaking, New York is bound to respect the right to keep and
       bear arms because of the Fourteenth Amendment, not the
       Second….[citation omitted] Nonetheless, we have made clear that
       individual rights enumerated in the Bill of Rights and made applicable
       against the States through the Fourteenth Amendment have the same
       scope as against the Federal Government. [multiple citations omitted]
       And we have generally assumed that the scope of the protection
       applicable to the Federal Government and States is pegged to the public
       understanding of the right when the Bill of Rights was adopted in 1791.
       [citing three Court cases from the past twenty years holding that 1791 is
       the proper period for determining public understanding of the First,
       Fourth, and Sixth Amendments].

       Justice Thomas’s opinion then continued:

       We also acknowledge that there is an ongoing scholarly debate on
       whether courts should primarily rely on the prevailing understanding of
       an individual right when the Fourteenth Amendment was ratified in

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          1868 when defining its scope (as well as the scope of the right against
          the Federal Government). See, e.g., A. Amar, The Bill of Rights:
          Creation and Reconstruction xiv, 223, 243 (1998); K. Lash, Re-
          Speaking the Bill of Rights: A New Doctrine of Incorporation [now
          published at 97 Ind. L.J. 1439 (2022)] (“When the people adopted the
          Fourteenth Amendment into existence, they readopted the original Bill
          of Rights, and did so in a manner that invested those original 1791 texts
          with new 1868 meanings”). We need not address this issue today
          because, as we explain below, the public understanding of the right to
          keep and bear arms in both 1791 and 1868 was, for all relevant purposes,
          the same with respect to public carry.

 Bruen, 142 S.Ct. at 2138.

          Several things are worth noting in this passage. First, though characterized as

 an “assumption,” the test actually applied by the Bruen court, and in numerous cases

 cited by Bruen, was 1791, not 1868. Second, the acknowledgement of an “ongoing

 scholarly debate” does not imply that the Court has changed or will change the

 historical period it will look at for determining original public understanding, through

 “historical analogues” or other means.10 Third, adoption of 1868 as the historical

 period to determine original meaning would nullify the entire course of Supreme

 Court incorporation jurisprudence, and would require that all Bill of Rights cases,

 whether based on incorporation against the states or directly against the federal

 government, be revisited.


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      It is also not much of a debate, as shown below.

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     C. The Constitution’s meaning is fixed according to the understandings of
        the Founders.

       Bruen expressly held that the Constitution’s “meaning is fixed according to the

 understandings of those who ratified it,” although “the Constitution can, and must,

 apply to circumstances beyond those the Founders specifically anticipated.” Bruen,

 142 S.Ct. 2132. Thus, it is the understanding of “the Founders” that is dispositive.

 For that proposition, Bruen cited United States v. Jones, 565 U.S. 400, 404–405

 (2012), a Fourth Amendment case that held that installation of a tracking device

 “would have been considered a ‘search’ within the meaning of the Fourth

 Amendment when it was adopted”) (emphasis added). As noted, it was adopted in

 1791. Heller also expressly determined that the Founding was the relevant time for

 ascertaining original public understanding. It specifically noted that the “Constitution

 was written to be understood by the voters,” and that “Normal meaning … excludes

 secret or technical meanings that would not have been known to ordinary citizens in

 the founding generation.” Heller, 554 U.S. at 576-77 (emphasis added). So, the

 Constitution, including the Bill of Rights and Second Amendment, had an

 ascertainable, fixed meaning at the time it was adopted, which is the time of the

 Founding.



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    D. Each provision of the Bill of Rights means the same thing when applied
       against the states through the Fourteenth Amendment as it does when
       applied against the federal government.

       Bruen itself made it clear that “individual rights enumerated in the Bill of

 Rights and made applicable against the States through the Fourteenth Amendment

 have the same scope as against the Federal Government.” Bruen, 142 S.Ct. at 2137.

 The Second Amendment therefore cannot have one meaning when applied against

 the federal government and a different meaning when incorporated against the states.

 That principle was conclusively established in the 1960s in Malloy v. Hogan, 378

 U.S. 1 (1964) after extended debate among the members of the Court over a period

 of years. It has been adhered to by the Court ever since. McDonald reviewed the

 debate on this issue, and concluded that Malloy “decisively held that incorporated

 Bill of Rights protections ‘are all to be enforced against the States under the

 Fourteenth Amendment according to the same standards that protect those personal

 rights against federal encroachment.’” McDonald, 561 U.S. at 765-66 (citing cases).

       If the Second Amendment meant something in 1791 regarding the restraints

 placed on the federal government, as it surely did (see Heller), then the principle just

 described means that it meant the identical thing when applied to restrain the states

 in 1868 and thereafter. And that meaning was fixed in 1791, as seen above. Thus, no


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 amount of “historical analogues” in later times can change the 1791 meaning, and

 whatever the ratifiers of the Fourteenth Amendment may have understood about the

 meaning of the Second Amendment in 1868 cannot change the 1791 meaning, either.

    E. Bruen and Heller both held that history from around the time of the
       Civil War or later cannot be used to contradict the original
       understanding from 1791, but can only be used to confirm that
       understanding.

       Although both Heller and Bruen examined a small amount of evidence from

 the mid- to late-nineteenth century, they clearly did so only to confirm the original

 understanding from the time of the ratification of the Second Amendment in 1791.

 Bruen relied on Gamble v. United States, 139 S.Ct. 1960 (2019) to make that point

 concisely. The Bruen opinion noted that “we made clear in Gamble that Heller’s

 interest in mid- to late-19th-century commentary was secondary. Heller considered

 this evidence ‘only after surveying what it regarded as a wealth of authority for its

 reading—including the text of the Second Amendment and state constitutions.’”

 Bruen, 142 S.Ct. at 2137 (quoting Gamble, 139 S.Ct. at 1975–76). Any evidence from

 the mid- to late-nineteenth century was treated as “mere confirmation of what the

 Court thought had already been established.” Id.

       Furthermore, both Heller and Bruen noted that little weight should be given

 such nineteenth century evidence under any circumstances. Bruen expressly

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 cautioned “against giving postenactment history more weight than it can rightly

 bear.” Bruen, 142 S.Ct. at 2136. Bruen also quoted Heller regarding post-Civil War

 discussions of the right to keep and bear arms, observing that because they “took

 place 75 years after the ratification of the Second Amendment, they do not provide as

 much insight into its original meaning as earlier sources.” Bruen, 142 S.Ct. at 2137

 (emphasis added). If 1868 were the proper period, then such evidence would be the

 most relevant of all; but both Heller and Bruen viewed the “ratification of the Second

 Amendment” as the proper period for determining original meaning. In fact, the Court

 in Bruen refused even to consider “any of the 20th-century historical evidence

 brought to bear by respondents or their amici.” Bruen, 142 S.Ct. at 2154 n.28. The

 Court’s reason was straightforward: “As with their late-19th-century evidence, the

 20th century evidence presented by respondents and their amici does not provide

 insight into the meaning of the Second Amendment when it contradicts earlier

 evidence.” Id.

       Of course, the reason that Defendants offer evidence or historical analogues

 from the late nineteenth century and twentieth century is precisely because they

 contradict earlier evidence. The tradition at the time of the Founding, and up until a

 smattering of short-lived laws in the 1920s and 1930s, was that the government could


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 not ban the sale or possession of arms.

      F. The position that 1868 is the proper year is contrary to the Supreme
         Court’s prior holdings and will not be adopted by the Court.

        1. The Supreme Court’s universal practice has been to look at the
           Founding era, not 1868, to determine the original understanding of the
           Bill of Rights.

        As noted, Defendants and Everytown have not cited a single Supreme Court

 case in which the Court looked to 1868 or the Reconstruction period as the principal

 time period to ascertain the original meaning of the provisions of the Bill of Rights.

 Of course, the Court does not always need to consult history to determine the outcome

 of a case involving an incorporated provision of the Bill of Rights. But when it has

 employed history, the Court has always considered the Founding period, or very

 shortly before or thereafter, to be the principal or exclusive period that is

 determinative. Following is a partial list of such cases using history from the

 Founding:11

 First Amendment

        Fulton v. City of Philadelphia, 141 S. Ct. 1868, 1894–912 (2021) (Free

 Exercise Clause) (concurrence by Justices Alito, Thomas, and Gorsuch); Hosanna-


 11
   This list is based in part on the list contained in Smith, Attention Originalists, supra
 n.6, at 7 n.35.

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 Tabor Evangelical Lutheran Church and School v. E.E.O.C., 565 U.S. 171, 182–84

 (2012) (Establishment Clause and Free Exercise Clause); Nevada Comm’n on Ethics

 v. Carrigan, 564 U.S. 117, 122–125 (2011) (freedom of speech); Lynch v. Donnelly,

 465 U.S. 668, 673–74 (1984) (Establishment Clause); Near v. Minnesota, 283 U.S.

 697, 713–17 (1931) (freedom of the press); Reynolds v. United States, 98 U.S. 145,

 163 (1878) (Free Exercise Clause).

 Second Amendment

       New York State Rifle Association v. Bruen, 142 S. Ct. 2111, 2136 (2022);

 District of Columbia v. Heller, 554 U.S. 570, 634–635 (2008).

 Fourth Amendment

       Virginia v. Moore, 553 U.S. 164, 168–169 (2008); Wyoming v. Houghton, 526

 U.S. 295, 299 (1999); Wilson v. Arkansas, 514 U.S. 927, 931 (1995).

 Fifth Amendment

       Gamble v. United States, 139 S. Ct. 1960, 1965 (2019) (Double Jeopardy

 Clause); Benton v. Maryland, 395 U.S. 784, 795–96 (1969) (Double Jeopardy

 Clause).

 Sixth Amendment

       Ramos v. Louisiana, 140 S. Ct. 1390, 1395–96 (2020) (Jury Trial Clause);


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 Crawford v. Washington, 541 U.S. 36, 42–50 (2004) (Confrontation Clause); Duncan

 v. Louisiana, 391 U.S. 145, 151–54 (1968) (right to jury trial in state cases); Klopfer

 v. North Carolina, 386 U.S. 213, 223–25 (1967) (right to speedy trial); Washington

 v. Texas, 388 U.S. 14, 20, 23 (1967) (Compulsory Process Clause); In re Oliver, 333

 U.S. 257, 266–268 (1948) (right to public trial); Powell v. Alabama, 287 U.S. 45, 60–

 67 (1932) (Right to Counsel Clause).

 Eighth Amendment

       Timbs v. Indiana, 139 S. Ct. 682, 687–99 (2019) (Excessive Fines Clause).

       Justice Thomas’s statement in Bruen that the Court has “generally assumed

 that the scope of the protection applicable to the Federal Government and States is

 pegged to the public understanding of the right when the Bill of Rights was adopted

 in 1791,” is thus too modest. Bruen, 142 S.Ct. at 2137. The cases listed above

 demonstrate that, when the Court looks at history, the period around 1791 has been

 the central, often only, time period that it has examined to determine original public

 understanding of the Bill of Rights.

       2. The Supreme Court will not overturn its fundamental incorporation
          jurisprudence to focus on 1868 rather than the Founding.

       The “ongoing scholarly debate” referenced by the Bruen opinion has not turned

 out to be much of a debate. The Court cites only two books or articles on the subject,

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 Prof. Akhil Reed Amar’s 1998 book on the Bill of Rights,12 and a recent law review

 article by Prof. Kurt Lash.13 The most relevant of these is the article by Lash.

 According to Westlaw at the time this is written, there have been sixteen citations to

 Lash’s article. Fifteen were in briefs filed by Everytown or responding to Everytown,

 and one was in a law journal article, in which Lash’s article is cited once in a footnote.

       Amar’s book does not argue that 1868 is the central or exclusive time focus for

 determining the original meaning or public understanding of the Bill of Rights. His

 approach is more subtle, arguing that “a particular principle in the Bill of Rights may

 change its shape in the process of absorption into the Fourteenth Amendment.” Amar

 at xiv. With regard to the Second Amendment, Amar argues that the words of that

 Amendment “take on a different coloration and nuance when they are relabeled

 ‘privileges or immunities of citizens’ rather than ‘the right of the people,’” and that

 “the core applications and central meanings of the right to keep and bear arms and

 other key rights were very different in 1866 than in 1789.” Amar at 223. Thus, “when

 we ‘apply’ the Bill of Rights against the states today, we must first and foremost



 12
   AKHIL REED AMAR, THE BILL OF RIGHTS: CREATION AND RECONSTRUCTION (1998).
 13
   K. Lash, Re-Speaking the Bill of Rights: A New Doctrine of Incorporation, 97 Ind.
 L.J. 1439 (2022). Justice Thomas cited to the version of the article as it existed then
 on SSRN.

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 reflect on the meaning and the spirit of the amendment of 1866, not the Bill of 1789.”

 Id. He stopped far short of contending that in determining original public

 understanding of the Bill of Rights, the time of the Fourteenth Amendment should

 prevail over and replace the time of the Founding.

          Lash takes the forthright, albeit erroneous, position that the relevant time

 period for determining meaning is 1868, not 1791. He claims that when the

 Fourteenth Amendment was ratified, the people “respoke” the provisions of the Bill

 of Rights and “invested those original 1791 texts with new 1868 meanings.” Lash at

 1441. He calls this “reverse incorporation,”14 and contends that his version of “reverse

 incorporation” would turn that “proposition about equal protection and a single clause

 of the Fifth Amendment into a proposition about the entire content of the Bill of

 Rights.” Lash at 1442. This is essentially the position advocated by the Everytown

 brief.

          Recall that the provisions of the Constitution have one meaning, fixed at the

 time of the Founding. For the Bill of Rights, that meaning cannot apply differently to



 14
   That is the term sometimes used for the unique approach taken in Bolling v. Sharpe,
 347 U.S. 497 (1954), a companion case to Brown v. Board of Education, 347 U.S.
 483 (1954), in which the equal protection clause of the Fourteenth Amendment was
 “read back” into the Fifth Amendment’s due process clause.

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 the federal government and the states. A special rule regarding which time period to

 use cannot be employed for the Second Amendment, because as the Supreme Court

 has said, that amendment is not a “second class right.” McDonald, 561 U.S. at 780.

 That means that the Supreme Court’s entire incorporation jurisprudence would have

 to be overturned for all provisions of the Bill of Rights, and all decisions regarding

 the original meaning of those provisions would have to be revisited, with an allegedly

 different understanding from 1868 substituted for the original understanding of 1791.

       Needless to say, that is unlikely to happen. In any event, it has not happened,

 and lower courts are bound by the decisions of the Supreme Court. Accordingly, talk

 about substituting an 1868 understanding for the original understanding of 1791

 should be dismissed.

 II.   HELLER DETERMINED THE LEGAL STANDARD THAT APPLIES
       TO BANS ON ARMS AND THAT STANDARD SHOULD BE
       APPLIED IN THIS CASE.

       As described above, Heller has already determined the legal test to be applied

 in arms ban cases. An arm is protected by the Second Amendment if it is “in common

 use” today, or is “typically possessed by law-abiding citizens for lawful purposes.”

 Heller, 554 U.S. at 625. While Defendants seek to limit the common use test to

 employment of a gun in cases of self-defense only, there is nothing in Heller that


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 supports such a limitation. Possession for any lawful purpose, be it self-defense,

 hunting, recreational shooting, home defense, or competition, is protected by the

 Second Amendment.

       Plaintiffs have presented evidence that so-called assault weapons are merely

 ordinary semiautomatics, that so-called “large capacity” magazines are, in fact,

 standard capacity, and that these firearms are owned in the tens of millions and the

 magazines are owned in the hundreds of millions. See, e.g., Plaintiffs’ Motion for

 Preliminary Injunction in Barnett v. Raoul at 9-12, 16-19. Amicus will not repeat

 those figures here. Suffice it to say that these firearms and magazines unquestionably

 meet the Heller test that they be “typically possessed by law-abiding citizens for

 lawful purposes.” If the 24 million AR-15s that are part of the national firearms stock

 were typically used or possessed by criminals, that fact would be glaringly obvious.

 In fact, rifles of any kind are rarely used in crime.

       The point here is that Heller has already done the historical analysis and

 defined a constitutional test for what arms are protected by the Second Amendment.

 The Supreme Court has done the heavy lifting. Bruen did not disturb the test

 announced in Heller as to what arms are protected. All that remains is for courts and

 litigants to apply that test to the arms in question in a particular case. It is not only


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 unnecessary for courts and litigants to look for historical analogues when deciding

 what kinds of arms may be possessed under the protection of the Second Amendment.

 It is also improper, because Heller has already made that determination, and it is not

 the province of lower courts to devise a different standard to replace it.

       Amicus has devoted most of this brief to refuting the newly advanced theory

 that the Second Amendment should be interpreted in accordance with its meaning in

 1868 and years thereafter. But the simple answer for deciding this case is that Heller

 governs, and that is the end of the matter. All of the discussion of alleged analogues

 in 1868 and thereafter is an attempt to divert attention from that straightforward truth.

                                    CONCLUSION

       The Motion for Preliminary Injunction should be granted.

                                                Respectfully submitted,

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                           CERTIFICATE OF SERVICE


       I hereby certify that on March 17, 2023, an electronic PDF of the foregoing

 Amicus Brief of the Second Amendment Law Center was uploaded to the Court s

 CM/ECF system, which will automatically generate and send by electronic mail a

 Notice of Docket Activity to all registered attorneys participating in the case. Such

 notice constitutes service on those registered attorneys.

                                        /s/ Dan M. Peterson
                                        Dan M. Peterson




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